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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF GEORGIA
                                       AUGUSTA DIVISION


JONATHAN DUNN, individually                           *
and on behalf of all others                           *
similarly situated,                                   *
                                                      *


         Plaintiff,                                   *                   CV 124-032
                                                       ★

                                                      *
                    V.
                                                      *


                                                       ■k
REDSPEED GEORGIA,             LLC,
                                                       ■k


         Defendant.                                    *




                                               ORDER




         Before      the    Court    is   Plaintiff's              motion     to   remand     {Doc.     18)

and Defendant's motion to file an amended motion to dismiss                                           (Doc.

48) .     For the following reasons.                        Plaintiff's motion to remand is

GRANTED and Defendant's motion to file an amended motion to dismiss


is   TERMINATED.




                                          I.   BACKGROUND


         On    November        17,     2023,      Defendant               Redspeed    Georgia,         LLC

(^^Redspeed")            issued the named Plaintiff,                     Jonathan Dunn,       a traffic

ticket        for    allegedly       speeding      through           a    school     zone   in   Wrens,

Jefferson County,             Georgia.         (Doc.        1-2,    at 3. )    Plaintiff paid the

associated           $80.00    fine,      plus    a         $4.00     processing       fee,      through

Defendant's website pursuant to a contract between Defendant and
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the City of Wrens.       (Id. at 4-5.)     On December 12, 2023, Plaintiff

filed suit in the Superior Court of Jefferson County, Georgia

alleging the contract between Defendant and the City of Wrens was

invalid   and    Defendant    charged   unauthorized,        excessive    fees   in

violation of state law.         (Id. at 2-4, 20-35.)          In his complaint.

Plaintiff seeks to certify the class and recover damages "including

actual, consequential, and nominal damages, trebled"; pre-judgment

interest, expenses, and attorney fees; declaratory relief; and

"such   other     and   further   relief    as    may   be     deemed    just    and

appropriate      by   this   Court."    (Id.     at   23-28,    36.)      However,

Plaintiff provides no monetary estimate of the relief sought.                   (Id.

at 36.)

     On March 25, 2024, Defendant removed the matter to this Court

pursuant to 28 U.S.C. §§ 1332, 1441, and 1446.                  (Doc. 1, at 1.)

On April 8, 2024, Defendant filed a motion to dismiss.                  (Doc. 16.)

Shortly following, on April 11, 2024, Plaintiff moved to remand,

arguing   that    federal    jurisdiction    does     not    exist   because     (1)

Defendant failed to establish           diversity and        (2) the amount in

controversy fails to meet jurisdictional requirements.                   (Doc. 18-

1, at 8.)   Briefings on Defendant's motion to dismiss were stayed

pending resolution of Plaintiff's to remand (Doc. 44); however, on

May 17, 2024, Defendant filed a motion to amend its motion to

dismiss based on newly issued authority and recently discovered

misrepresentations (Doc. 48).           Plaintiff's motion to remand and
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Defendant's motion to file an            amended   motion to dismiss are             now


ripe for the Court's review.




                               II. LEGAL STANDARD


        "Federal courts are courts of limited jurisdiction.                         They

possess only that power authorized by Constitution and statute,

which is not to be expanded by judicial decree."                         Kokkonen v.

Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994) (citations

omitted).       As such, a defendant may only remove an action from

state     court   if    the    federal     court    would        possess    original

jurisdiction over the subject matter.              28 U.S.C. § 1441(a).             On a

motion    to    remand,    the      removing   party   bears       the     burden     of

establishing federal jurisdiction.             Williams v. Best Buy Co., Inc.,

269 F.3d 1316, 1319 (11th Cir. 2001).                  Traditionally, removal

jurisdiction is construed narrowly, with all doubts resolved in

favor of remand.        Mann v. Unum Life Ins. Co. of Am., 505 F. App'x

854, 856 (11th Cir. 2013).            However, for cases invoking the Class

Action Fairness Act ("CAFA") there is no presumption in favor of

remand.    Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S.

81, 82 (2014).      In either case, in evaluating a motion to remand,

the   court    makes    its "determinations        based    on    the    plaintiff s

pleadings      at the   time   of    removal; but the       court       may consider

affidavits and deposition transcripts submitted by the parties."
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Crowe V. Coleman, 113 F.3d 1536, 1538 (11th Cir. 1997) (citation

omitted).

       In   traditional        cases,      federal         district        courts    have

jurisdiction     over    civil      actions    in    two   scenarios:       (1)   federal

question jurisdiction, in which the action "aris[es] under the

Constitution, laws, or treaties of the United States"; and (2)

diversity jurisdiction actions, ^^where the matter in controversy

exceeds the sum or value of $75,000, exclusive of interest and

costs, and is between citizens of different States," (^^Traditional

Diversity Jurisdiction").            28 U.S.C. §§ 1331, 1332(a).              CAFA also

provides jurisdiction to federal district courts in civil class

action suits when: (a) ''the matter in controversy exceeds the sum

or value of $5,000,000, exclusive of interest and costs"; and (b)

the suit meets CAFA diversity of citizenship requirements ("CAFA

Jurisdiction").         28   U.S.C. §      1332(d).        In   class      action   suits

brought under CAFA Jurisdiction individual class members' claims

are   aggregated    to       meet    the   required        amount     in    controversy

threshold.      Standard Fire Ins. Co. v. Knowles, 568 U.S. 588, 592,

(2013); 28 U.S.C. § 1332(d).




                                 III. DISCUSSION


      As    a    procedural         matter,         the    Court      addresses      the

jurisdictional concerns          raised    in   Plaintiff's motion to remand

before moving to Defendant's motion relating to the merits of this


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action.     See Beasley Forest Prod., Inc. v. N. Clearing, Inc., 515

F. Supp. 3cl 1367, 1371-72 (S.D. Ga. 2021) (addressing motion to

remand prior to pending motion to dismiss because it presented a

challenge to the court's jurisdiction).

      The Court first notes that a class action may be removed under

Traditional Diversity Jurisdiction or under CAFA                     Jurisdiction.

See Brinson v. Providence Cmty. Corr., 703 F. App'x 874, 877 (11th

Cir. 2017) (treating § 1332(a) and § 1332(d) as alternative methods

of   establishing          federal    jurisdiction).       Despite    Plaintiff's

contentions, "Mtjhere is absolutely no legal support for [the]

claim    that    a   class   action   cannot    be   removed   under § 1332(a)."

M.P.G. Tent Rentals, Inc. v. Wasatch Tees of Atlanta, Inc., No.

2:08-CV-02218, 2009 WL 10688841, at *3 (S.D. Ala. Feb. 26, 2009).

A. Traditional Diversity Jurisdiction

        Defendant removed the case to this Court based on Traditional


Diversity Jurisdiction.            (See Doc. 1, at 1-2.)       Thus, relevant to

this case, subject matter jurisdiction exists if the citizenship

of the parties is completely diverse and the amount in controversy

exceeds $75,000.00.          See 28 U.S.C. § 1332(a).

     1. Complete Diversity

     Complete diversity requires that ""no two adverse parties are

citizens    of       the   same   state."      Ranbaxy   Lab'ys   Inc.   v.   First

Databank, Inc., 826 F.3d 1334, 1338 (11th Cir. 2016) (citing Owen

Equip. & Erection Co. v. Kroger, 437 U.S. 365, 373 (1978)).                   Under
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Traditional Diversity Jurisdiction, ^^[t]he party seeking to invoke

a federal forum traditionally bears the burden of persuasion on

jurisdictional issues such as establishing the citizenship of the

parties."    Life of the S. Ins. Co. v. Carzell, 851 F.3d 1341, 1344

(11th Cir. 2017) (citing McNutt v. Gen. Motors Acceptance Corp. of

Ind., 298 U.S. 178, 189 (1936); Burns v. Windsor Ins. Co., 31 F.3d

1092, 1094 (11th Cir. 1994)).

      The Parties at hand are an individual and a limited liability

company (""LLC").    (See Doc. 1.)         For an individual,    [c]itizenship

is   equivalent      to        Momicile'     for     purposes   of   diversity

jurisdiction."      McCormick v. Aderholt, 293 F.3d 1254, 1257 (11th

Cir.2002).     Thus,      to    properly    allege    the   citizenship    of   an

individual, a party must allege both residence in a state and ^'an

intention to remain there indefinitely."              Id.   Residence alone is

not enough.    Denny v. Pironi, 141 U.S. 121, 123, (1891); Taylor v.

Appleton, 30 F.3d 1365, 1367 (11th Cir. 1994) (''Citizenship, not

residence, is the key fact that must be alleged in the complaint

to establish diversity for a natural person.").              However, properly

alleging the citizenship of an LLC requires different steps than

alleging the citizenship of an individual.             To properly allege the

citizenship of an LLC, "a party must list the citizenships of all

the members of the limited liability company . . . ."                     Rolling

Greens MRP, L.P. v. Comcast SCH Holdings L.L.C., 374 F.3d 1020,

1022 (11th Cir. 2004).         Furthermore, the general allegation, based


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upon information       and   belief, that no          member of an LLC is the

citizen    of   a   particular    state      is   insufficient       to   carry     the

defendant's burden of establishing complete diversity.                      See Toms

V. Country Quality Meats, Inc., 610 F.2d 313, 316 (5th Cir. 1980)^

(''[W]hen jurisdiction depends on citizenship, citizenship should

be distinctly and affirmatively alleged.") (citation and quotation

marks omitted); see also Great Am. Assurance Co. v. Stover, No.

l:20-CV-2635, 2020 WL 8093342,              at *1 (N.D.     Ga.   June    24, 2020)

(""[A]lleging    the   members   of     a   limited    liability company           ^upon

information and belief,' as Plaintiff does for [defendant LLC], is

also insufficient.")

      The Court finds Defendant has adequately alleged complete

diversity for the purposes of establishing diversity jurisdiction

under 28 U.S.C. § 1332(a).             Defendant asserts complete diversity

exists    because   Plaintiff     is    domiciled     in   Georgia    and    none    of

Defendant's members are citizens of the state of Georgia.                      (Doc.

1, at 2-3.)     While Plaintiff does dispute the manner of determining

Defendant's     citizenship      for    diversity      purposes,     he     does    not

dispute the asserted citizenship of any of Defendant's members.

Further, Defendant provides a sworn declaration in support of its

assertions that affirms the citizenship of each of its distinct

members.    (Doc. 1-3.)



^ In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981), the
Eleventh Circuit adopted as binding precedent all decisions of the Fifth Circuit
handed down prior to October 1, 1981.
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        2. Amount in Controversy

        Turning    to     the    amount    in    controversy       requirement,        under

Traditional Diversity Jurisdiction, the removing party must show

^^the matter in controversy exceeds the sum or value of $75,000."

28 U.S.C. § 1332(a) (emphasis added).                      The defendant's right to

remove and the plaintiff s right to choose his forum are not on

equal footing, and, as such, there is a heavy burden of proof on

the defendant to "prove jurisdiction exists despite plaintiff's

express claim to less than the minimum                         jurisdictional sum[.]"

Burns v. Windsor Ins. Co., 31 F.3d 1092, 1095 (11th Cir.. 1994).

The     weight    of    this      burden,       however,       "varies   based    on    the

allegations in the state court complaint."                      Gen. Pump & Well, Inc.

V. Matrix Drilling Prods. Co., No. CV608-045, 2009 WL 812340, at

*2 (S.D. Ga. Mar. 26, 2009) (citation omitted).

        When a plaintiff makes a specific demand for judgment for

less than the jurisdictional amount, the defendant is required to

prove to "a legal certainty" the amount in controversy actually

exceeds the jurisdictional minimum.                 Burns, 31 F.3d at 1095.         Thus,

a defendant may be permitted to remain in federal court under this

standard only if it shows "the case is clearly worth more than"

the jurisdictional threshold.               Id. at 1096.

        Alternatively,          when   a   plaintiff     has     made    an   unspecified

demand for damages in state court, a removing defendant must only

prove    the     amount    in     controversy      "by     a    preponderance     of    the

evidence."       Roe v. Michelin N. Am., Inc., 613 F.3d 1058, 1061 (11th
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Cir. 2010) (citation and quotation marks omitted).                       Therefore, if

the damages       are    unspecified      in   the    complaint, the         defendant's

burden is to prove the actual damages will ''more likely than not"

exceed    the    minimum    jurisdictional        amount.       Id.      (citation      and

quotation marks omitted).           "Generally, if no single plaintiff can

satisfy the      jurisdictional amount,              then   there   is    no   diversity

jurisdiction."          Kirkland v. Midland Mortq. Co., 243 F.Sd 1277,

1280 (11th Cir. 2001).

        Plaintiff did not specify the amount of damages sought in his

complaint.      (see Doc. 1-2.)         Nevertheless, Defendant asserts it is

"facially apparent" from the complaint the amount in controversy

exceeds $75,000.        (Doc. 1, at 3.)        Specifically, Defendant contends

the amount in controversy requirement is satisfied with regards to

Plaintiff      alone    because   the    value   of   Defendant's      contracts     with


Georgia counties and municipalities giving rise to Plaintiff's

claims     exceeds       $75,000,       and    because      punitive      damages       and

attorney's fees must be considered in addition to actual damages.

(Doc.    45,    4-7.)     Plaintiff,      conversely,       argues     the     amount   in

controversy is far less than $75,000 for any one class member for

three reasons: first, injunctive relief must be valued from the

plaintiff's standpoint; second. Defendant has not alleged punitive

damages and attorney's fees with sufficient certainty; and third,

certain damages should be allocated pro rata among class members.

(Doc. 49, at 3.)
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        The Court finds Defendant has not proven by a preponderance

of the evidence that the amount in controversy for any individual

class     member    exceeds      $75,000.            When    estimating        the     value    of

injunctive relief for the purposes of calculating the amount in

controversy, ^^the proper computation turns, not on the profits the

[d]efendant stands to lose, but on the value of the injunction to

the plaintiff."              Torreyes v. Godiva Chocolatier, Inc., 424 F.

Supp. 3d 1276, 1281 (S.D. Fla. 2019) (citing Cohen v. Office Depot,

Inc.,     204   F.3d     1069,        1077    (11th        Cir.     2000)).          Under    this

'■"plaintiff-viewpoint          rule,"       only    the    value     the    plaintiff       would

receive if the injunctive relief were granted is considered.                                   Id.

Here,     the   most    value        Plaintiff      may     reap    from     the    declaratory

judgment sought is the potential avoidance of paying future fines

-    a value    that    is   ''not    readily       susceptible       to    computation"       and

thus "too minimal and speculative" to establish jurisdiction.                                  Id.

at 1282    (citation and quotation marks omitted) .

        Further,       Defendant       has    not     alleged        punitive       damages     or

attorney's      fees    with    enough       specificity          to prove     the    amount    in

controversy by a preponderance of evidence.                           (See Doc.       45,    at 5-

7.)       "A    conclusory           allegation        [that        damages        satisfy     the

jurisdictional amount] , without setting forth the underlying facts

supporting such an assertion,                 is insufficient."              D & R Party,      LLC

V.    Party Land,   Inc.,      406 F.    Supp. 2d 1382,            1384-85    (N.D. Ga 2005) .

Regarding punitive damages.               Defendant simply asserts they may be


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considered without alleging any facts or specifics as to the amount

of punitive damages that are potentially in controversy.                         (Doc. 45

at     5-6.)      Similarly,        regarding     attorney's        fees,       Defendant

estimates      Plaintiff's    counsel's     total   billed     hours      and   billable


rate, but these figures are unsupported by any factual basis beyond

Defendant's observation of the work done to-date by Plaintiff's

counsel.       (Id. at 7.)    While it is true that a court may use common

sense to draw reasonable inferences from the evidence before it in


determining if the amount in controversy threshold has been met,

the Court       will not engage in         guesswork     without any         underlying

factual    support      to   make   such   determinations.           See     Cotton    v.

Symrise, Inc., No. CV 2:22-145, 2023 WL 2474208, at *2 (S.D. Ga.

Mar.    13,    2023)   (""Eleventh     Circuit     precedent       permits      district

courts to make reasonable deductions, reasonable inferences, or

other reasonable extrapolation from the pleadings to determining

whether    it    is    facially     apparent     that    a   case    is     removable")

(citation and quotation marks omitted). But see Pretka v. Kolter

City Plaza II, Inc., 608 F.3d 744, 752 (11th Cir. 2010) (""[I]t

would be "impermissible speculation' for a court to hazard a guess

on the jurisdictional amount in controversy").                      How much time an

attorney has spent litigating a case and what they may be charging

is dependent on a variety of factors.                   Thus, the Court will not

speculate      based    on   unsupported        assertions    of     the     amount   of

attorney's fees accrued by Plaintiff's counsel to date.                         For these


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reasons, the Court finds Defendant has not carried its burden of

proving     the   amount    in   controversy      requirement     for    diversity

jurisdiction purposes is satisfied with sufficient certainty.2

B. CAFA Jurisdiction


      The   Court now      examines CAFA as an        alternative       ground for

establishing      federal    jurisdiction.          The   Court    first     notes

Defendant did not remove this action pursuant to CAFA Jurisdiction,

nor does    Defendant assert that CAFA            Jurisdiction    exists.     (See

Doc. 1, at 2-5.)        Nevertheless, because Plaintiff belabors the

lack of CAFA Jurisdiction, the Court briefly addresses Plaintiff's

arguments.

      Plaintiff argues there is no CAFA Jurisdiction because there

is no minimal diversity of citizenship as defined under § 1332(d)

and the $5,000,000 aggregate amount in controversy requirement has

not been met.     (Doc. 49, at 1-4.)       Defendant does not address these

contentions;      rather,   it   argues    CAFA    Jurisdiction    need     not   be

considered because ""CAFA did not do away with the right to utilize

traditional diversity-based removal," and removal here was proper

under § 1332(a).     (Doc. 45, at 1.)       The Court agrees that Defendant

need only prove one jurisdictional avenue is satisfied.                   However,

because the Court finds there is not federal jurisdiction under




2 Because the Court finds Defendant has not alleged the amount of punitive
damages or attorney's fees with sufficient certainty, the Court does not
address whether such damages must be calculated pro rata.

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the       Traditional         Diversity          Jurisdiction        requirements,        it     now

considers the CAFA Jurisdiction requirements.

          Regarding      the       minimal       diversity       requirement,       ''[f]or     the

purposes        of [CAFA          Jurisdiction],         an    unincorporated       association

shall      be   deemed       to   be   a   citizen      of    the   State   where   it    has   its


principal place of business and the State under whose laws it is

organized."        28 U.S.C. § 1332(d)(10).                    It is undisputed Plaintiff

is    a    citizen      of    Georgia.           (Doc.   1,    at    2;   Doc.   18-1,    at     3.)

Additionally,           Plaintiff          has   provided       undisputed       evidence       that

Defendant is registered to do business in Georgia (Doc. 18-2), and

both Parties represent Defendant is organized under Georgia law.

(Doc. 1, at 2; Doc. 18-1, at 3.)                             While an entity's registered

office is not in and of itself equivalent to the entity's principal

place of business. Defendant has offered no evidence to suggest

its       principal     place       of     business      is    in   another      State.         AFC

Franchising, LLC v. Puruqganan, No. 20-13849-AA, 2021 WL 1541511,

at *1 (11th Cir. Apr. 6, 2021).                      Further, regarding the amount in

controversy requirement. Defendant has provided no evidence that

the aggregate amount in controversy exceeds $5,000,000.                                     While

CAFA generally expands federal jurisdiction, "CAFA does not change

the traditional rule that the party seeking to remove the case to

federal         court        bears       the      burden       of    establishing         federal

jurisdiction."           Evans v. Walter Indus., Inc., 449 F.3d 1159, 1164

(11th Cir. 2006).             Because Defendant has not presented any argument


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to support a finding that minimal diversity exists, or that the

aggregate     amount   in   controversy exceeds      $5,000,000,   the   Court

finds the requirements necessary to establish CAFA Jurisdiction

have not been satisfied. Thus, since neither method of establishing

federal jurisdiction is satisfied. Plaintiff's motion to remand is

GRANTED.




                                  IV. Conclusion


        For   the   foregoing   reasons,   IT   IS    HEREBY   ORDERED   that

Plaintiff's motion to remand        {Doc. 18) is GRANTED. Because this

Court lacks jurisdiction over this case. Defendant's motion to

amend its motion to dismiss (Doc. 48) is TERMINATED.            The Clerk is

DIRECTED to REMAND this case to the Superior Court of Jefferson

County, Georgia.       The Clerk is further DIRECTED to TERMINATE all

remaining pending motions, if any, and CLOSE this case.

     ORDER ENTERED at Augusta, Georgia, this                    of November,

2024.




                                           HON(pRABI^J'. RANpAL HALL
                                           uniVrtT^ates district judge
                                                 (k DISTRICT OF GEORGIA




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